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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                             Plaintiff,

                       v.

    CAMBIUM NETWORKS, INC.;                           Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, LTD.;
    BLIP NETWORKS, LLC;                               JURY TRIAL DEMANDED
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and
    DMITRY MOISEEV

                             Defendants.


                             FIRST AMENDED COMPLAINT

       Plaintiff Ubiquiti Networks, Inc. (“Plaintiff” or “Ubiquiti”) brings this action against

Defendants Cambium Networks, Inc. (“Cambium”), Cambium Networks, Ltd. (“Cambium

Networks”), Blip Networks, LLC (“Blip”), Winncom Technologies, Inc. (“Winncom”), Sakid

Ahmed (“Ahmed”), and Dmitry Moiseev (“Moiseev”) (collectively “Defendants”), and for its

First Amended Complaint (herein the “Complaint”) hereby alleges as follows:

                                NATURE OF THE ACTION

       1.     Ubiquiti and Cambium are direct competitors in the wireless networking industry.

Since 2009, Ubiquiti’s M-series devices have been used by customers primarily to provide

wireless internet access to consumers. Ubiquiti sells its M-series devices with pre-installed

firmware developed by Ubiquiti at great expense, which operates the devices and ensures they

perform as intended by Ubiquiti, as expected by Ubiquiti-device customers and as required by

federal regulators. Much of Ubiquiti’s firmware, and the work that went into developing,
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marketing, licensing and servicing that firmware, is protected by license agreements, copyright

laws and anti-circumvention statutes.

       2.      Seeking to unlawfully capitalize on Ubiquiti’s development work and to unfairly

take advantage of Ubiquiti’s substantial installed Ubiquiti-device customer base, Defendant

Cambium used Ubiquiti’s firmware without authorization to create firmware licensed under the

tradename “Elevate,” which was specifically designed to replace the proprietary firmware on

Ubiquiti’s devices, thereby allowing Cambium to reap illicit license fees while also providing

Cambium with a means of inserting its own devices into Ubiquiti-exclusive wireless networks.

       3.      In creating, installing and using the Elevate firmware, Defendants breached their

license agreements with Ubiquiti, violated Ubiquiti’s copyrights and unlawfully evaded

Ubiquiti’s anti-circumvention technologies causing harm to Ubiquiti.

       4.      In addition, Cambium’s unlawful marketing and licensing of Elevate to Ubiquiti’s

customers interfered with Ubiquiti’s contractual relations with those Ubiquiti-device customers,

and induced and contributed to those Ubiquiti-device customers breaching their own license

agreements with Ubiquiti, violating Ubiquiti’s copyrights, and unlawfully evading Ubiquiti’s

anti-circumvention technologies – thereby causing additional harm to Ubiquiti.

       5.      Going far beyond what could possibly be considered legitimate competitive

behavior, Defendants engaged in extensive willful criminal copyright infringement and mail/wire

fraud in creating, marketing, and licensing Elevate, in violation of the federal RICO statute.

       6.      Ubiquiti brings this action to enjoin Defendants from further harming Ubiquiti

and to obtain compensation for the damages Ubiquiti has suffered and will continue to suffer.




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                                           PARTIES

       7.      Plaintiff Ubiquiti is a corporation organized under the laws of the State of

Delaware, with its principal place of business at 685 Third Avenue, 27th Floor, New York, New

York 10017.

       8.      Defendant Cambium is a corporation organized under the laws of the State of

Delaware, with its principal place of business at 3800 Golf Road, Suite 360, Rolling Meadows,

Illinois 60008.

       9.      Defendant Cambium Networks is a British limited liability company with its

principal place of business in England. Cambium Networks is the parent company of Cambium.

       10.     Defendant Blip is an Illinois limited liability company, with its principal place of

business at 6 Sharp Rock Road, Ava, Illinois 62907-2528.

       11.     Defendant Winncom is an Ohio corporation, with its principal place of business at

28900 Fountain Parkway # B, Solon, Ohio 44139-4383.

       12.     Defendant Sakid Ahmed is the Vice President of Engineering at Cambium

Networks and a resident of Chicago, Illinois.

       13.     Defendant Dmitry Moiseev is a Project Engineer at Cambium Networks and a

resident of Hoffman Estates, Illinois.

                                JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction over Ubiquiti’s claims arising under the

Copyright Act, 17 U.S.C. § 101 et seq. (“Copyright Act”), the Computer Fraud and Abuse Act,

18 U.S.C. § 1030, et seq. (“CFAA”), the Digital Millennium Copyright Act, 17 U.S.C. § 101, et

seq. (“DMCA”), the Lanham Act, 15 U.S.C. § 1125 et seq. (“Lanham Act”), and the Racketeer

Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et seq. (“RICO”) pursuant to this

Court’s federal question jurisdiction under 28 U.S.C. §§ 1331 and 1338(a). This Court also has

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supplemental jurisdiction over all other claims asserted herein pursuant to 28 U.S.C. § 1367

because those claims are so related to the claims brought under the federal statutes so as to form

part of the same case or controversy.

           15.   This Court has personal jurisdiction over Defendant Cambium.         Cambium is

registered to do business in the State of Illinois and has a regular and established place of

business in Illinois and in this district at 3800 Golf Road, Suite 360, Rolling Meadows, Illinois

60008, and is and has been doing business in Illinois and in this district at all times relevant

hereto.

           16.   This Court has personal jurisdiction over Defendants Sakid Ahmed and Dmitry

Moiseev, Illinois residents who live, work, are employed, and carried out acts described herein

within this district.

           17.   This Court has personal jurisdiction over all Defendants because directly or

through intermediaries, they have committed acts within or directed at Illinois, causing harm

herein and giving rise to this action, and/or have established minimum contacts with Illinois such

that the exercise of jurisdiction would not offend traditional notions of fair play and substantial

justice.

           18.   Venue is proper in this Court because Defendants Cambium, Ahmed, Moiseev,

and Blip reside or may be found in this district. See 28 U.S.C. §§ 1391(b) & (c), and 1400(a).

           19.   Venue is also proper because a substantial part of the events and omissions giving

rise to the instant action occurred within this district. Unlawful and improper conduct including

the violations of the CFAA, copyright infringement, and fraudulent mailing and interstate wire

communications have occurred and originated within this district.




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        20.    Venue is also proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391 because

Defendants are subject to personal jurisdiction in this district.

                                   FACTUAL BACKGROUND

A.      Ubiquiti Expends Substantial Time, Effort And Financial Resources Creating Its
        Industry-Leading Wireless Networking Products.

        21.    Ubiquiti designs, develops, and sells, among other things, industry-leading

proprietary wireless networking products at a more attractive price point than many of its

competitors, including Defendant Cambium. Ubiquiti’s wireless products are used throughout

the world to provide internet access, mostly in more rural areas where hardwired infrastructure is

not readily available or economically feasible.

        22.    Ubiquiti’s broadband product line includes a range of M-series devices: the

NanoStation M and NanoStation Loco, which are wireless products meant to be installed on

customer premises; the NanoBridge M-series, the NanoBeam M-series, and the PowerBeam M-

series, which are wireless bridges that rebroadcast information received; the AirGrid M-series,

which is a broadband wireless device designed to work at distances up to 50+ kilometers, and the

Rocket M-series, which is a broadband wireless base station to connect customer premises

equipment to the rest of the network.

        23.    For purposes of the present action, Ubiquiti’s primary customers are Wireless

Internet Service Providers (“WISPs”) that use Ubiquiti’s M-series products and access point

equipment to create broadband networks capable of providing high-speed wireless Internet

access over wide geographic areas.

        24.    Ubiquiti launched AirMAX and its M-series product line in 2009. AirMAX

incorporates proprietary radio frequency (RF) technology, antenna design, and firmware, which




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simplifies adoption and use of base stations, back haul equipment and customer premises

equipment.

       25.     All Ubiquiti AirMAX products run on Ubiquiti’s proprietary airOS operating

system embodied in Ubiquiti’s firmware (hereinafter the “Firmware”), utilizing Ubiquiti’s

proprietary AirMAX protocol. Ubiquiti’s Firmware ensures its devices and the networks they

create operate reliably and as intended to meet and/or exceed customer expectations. Ubiquiti’s

Firmware is not compatible with non-Ubiquiti devices, and Ubiquiti equipment running

Firmware cannot be used with non-Ubiquiti networking equipment.

       26.     Ubiquiti has invested over $500 million creating its products (including its

Firmware), developing its distribution network and establishing goodwill in the marketplace.

       27.     Ubiquiti has received substantial accolades for its broadband product line. In

2007, Ubiquiti received significant attention when a group of Italian amateur radio operators set

a distance world record for point-to-point links in the 5.8 GHz spectrum using Ubiquiti cards and

antennas. Ubiquiti also has been named the Wireless Internet Service Providers Association

(“WISPA”) Manufacturer of the Year in 2010, 2011, 2014, and 2016.

       B.      Ubiquiti Goes To Substantial Lengths To Protect Its Proprietary
               Technology.

       28.     Ubiquiti employs a variety of means to protect the proprietary portions of its

Firmware from being stolen or misused, including firmware verification technologies, copyright

registrations and license agreements.

               1. Firmware Source And Compatibility Verification

       29.     Until 2017, before Ubiquiti-device customers were permitted to upgrade to new

versions of firmware in Ubiquiti’s M-series devices, a series of checks were performed to




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determine whether the new firmware was compatible with the Ubiquiti device. Firmware that

did not pass the checks was rejected and could not be installed.

       30.     In early 2017, Ubiquiti introduced a “signed” version of its airOS firmware,

including airOS firmware versions 5.6.15 and 6.0.3. Signed firmware provides a means of

verifying that the source of the firmware being downloaded over the Internet is Ubiquiti.

Unsigned firmware cannot be successfully installed on Ubiquiti M-series devices running airOS

versions 5.6.15 or 6.0.3.

               2. Copyright Registrations

       31.     Ubiquiti also protects the proprietary portions of its Firmware by registering for

copyrights. Ubiquiti’s Firmware consists of thousands of computer programs and related files.

Many of these programs and files were written by Ubiquiti and are subject to copyright

protection pursuant to 17 U.S.C. §§ 101, 102(a).

       32.     Ubiquiti owns registered copyrights for its original authorship associated with

three versions of its Firmware: (i) U.S. Copyright No. TXu 1-795-146 for airOS version 5.2.1,

(ii) U.S. Copyright No. TXu 1-795-147 for airOS version 5.3, and (iii) U.S. Copyright No. TX 8-

654-155 for airOS version 6.0. True and correct copies of the U.S. certificates of copyright

registration are attached hereto as Exhibit A.

       33.     The portions of Ubiquiti’s Firmware that constitute original authorship by

Ubiquiti, and thus are protectable by the registered copyrights of versions 5.2.1, 5.3 and 6.0 of

the Firmware, including the computer programs (source and object code) and related comments

and compilations of data, are referred to herein as Ubiquiti’s “Registered Firmware.” The

Registered Firmware forms the basis for Ubiquiti’s copyright claims herein.




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       34.     Ubiquiti’s Firmware also includes code authored by third-parties that is subject to

third-party license agreements (the “licensed-in materials”).            The licensed-in materials

encompass code licensed under one or more open source licenses, including the GNU General

Public License (“GPL”), as well as code licensed to Ubiquiti pursuant to direct license

agreements with third-party companies.

       35.     Ubiquiti’s Registered Firmware generally excludes licensed-in materials. See Ex.

A (providing TXu 1-795-146, which excludes “licensed-in materials”; TXu 1-795-147, which

excludes “licensed-in materials”; and TX 8-654-155, which excludes “third-party . . . computer

code”). However, when Ubiquiti modifies licensed-in materials from third parties that are not

subject to the GPL, Ubiquiti owns the copyright to such modifications. Accordingly, these

copyrighted modifications are part of Ubiquiti’s Registered Firmware.

       36.     Because each version of the Registered Firmware was registered for copyright

“before or within five years [of its] first publication,” each copyright registration certificate

included in Exhibit A constitutes “prima facie evidence of the validity of the copyright and of the

facts stated in the certificate.” See 17 U.S.C. § 410(c).

       37.     The Registered Firmware includes computer programs (source and object code),

and related comments and compilations of data associated with the following: (i) AirMAX®

radio protocol and wireless drivers (ubnthal and ubnt-regd); (ii) web user interface (ubnt-web

and ubnt-cgi) (iii) polling (ubnt-poll); (iv) spectral analysis module (ubnt-spectral and ubnt-

spectral-2); (v) configuration (ubnt-regd, ubntbox, and ubntconf_cl.sh); (vi) various

utilities (ubntbox   and     ubnt-3g) related    to,    among    other     things,   configuration,

calibration, discovery tools, and boot code; (vii) base files (bunt-base-files) related to, among

other things, support utilities and scripts and configuration parameters; (viii) power over Ethernet



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(ubnt-poe-control); and (ix) modifications to the bootloader for AirOS provided by Atheros

(ar7240-u-boot.rom;      ubntxn-u-boot.rom;      ubntxn-400-u-boot.rom;      ubntwasp-u-boot.rom;

ubnttitanium-u-boot.rom).

       38.     The object code versions of Ubiquiti’s Firmware include copyright notices for

programs in which Ubiquiti is identified as the copyright owner of the respective program and

are available for others to view. Copyright notices also are posted on the Ubiquiti website used

to download Ubiquiti firmware updates and set forth in Ubiquiti’s license agreements.

       D.      License Agreements

       39.     For purposes of this Complaint, the term “Proprietary Firmware” means

(i) Ubiquiti’s Registered Firmware, (ii) Ubiquiti’s proprietary compilations of data contained in

its calibration and configuration files of the Firmware, and (iii) licensed-in materials, not subject

to the GPL or any other open-source license, including (a) AirMAx radio protocol and wireless

drivers specific to Atheros (atheros-11n and related packages),. and (b) the bootloader for AirOS

(ar7240-u-boot.rom;      ubntxn-u-boot.rom;      ubntxn-400-u-boot.rom;      ubntwasp-u-boot.rom;

ubnttitanium-u-boot.rom). Ubiquiti’s Proprietary Firmware forms the basis for Ubiquiti’s breach

of contract, CFAA, and DMCA claims set forth herein.

       40.     When first setting up a Ubiquiti M-series device, Ubiquiti-device customers,

including the Defendants named herein, are directed by Ubiquiti’s user manual to a designated IP

address where they gain access to a Ubiquiti-provided user interface. This user interface is used

to set up and configure the device. Upon first accessing the device, Ubiquiti-device customers

are provided an opportunity to review and accept the terms of Ubiquiti’s Firmware User License

Agreement (the “FULA”). The set-up and configuration process will not commence unless and




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until Ubiquiti-device customers agree to be bound by the terms of the FULA. A true and correct

copy of the FULA is attached as Exhibit B.

       41.      Ubiquiti-device customers, including the Defendants named herein, are required

to and affirmatively do express their agreement to be bound by the terms of the FULA by

checking a box before proceeding.

       42.      By entering into the FULA, Ubiquiti-device customers, including the Defendants

named herein, agree that the FULA only applies to Ubiquiti’s Proprietary Firmware and

expressly excludes any Open Source Software that may be included in the airOS Firmware. The

FULA defines Open Source Software as software Ubiquiti uses under license pursuant to “(a)

GNU’s General Public License (GPL) or Lesser/Library GPL (LGPL); (b) the Artistic License

(e.g., PERL); (c) the Mozilla Public License; (d) the BSD License; and (e) the Apache License.”

See Ex. B at pages 2-3 (Open Source Software).

       43.      By entering into the FULA, all Ubiquiti-device customers, including the

Defendants named herein, also agree that they are prohibited from:

       •     “removing or modifying any Ubiquiti copyright notice, trademark, or user interface of
             the Ubiquiti Firmware or any Ubiquiti Device,” See Ex. B at page 1;

       •     “unauthorized copying, use, or modification of ANY PART of this firmware;” See
             Ex. B at page 1;

       •     “modify[ing], translat[ing], reverse engineer[ing], decompil[ing], dissembl[ing], or
             otherwise attempt[ing] (1) to defeat, avoid, bypass, remove, deactivate, or otherwise
             circumvent any software protection mechanism in the Ubiquiti Firmware, including
             without limitation any such mechanism used to restrict or control the functionality of
             the Ubiquiti Firmware…;” See Ex. B at page 2 (Uses and Restrictions);

       •     “distribut[ing], rent[ing], transfer[ring] or grant[ing] any rights in the Ubiquiti
             Firmware or modifications thereof or accompanying documentation in any form to
             any person without the prior written consent of Ubiquiti;” See Ex. B at page 2 (Uses
             and Restrictions); and




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       •     “remov[ing] any Ubiquiti copyright notice or Ubiquiti branding from the Ubiquiti
             Firmware or modify[ing] any user interface of the Ubiquiti Firmware or Ubiquiti
             Device.” See Ex. B at page 2 (Uses and Restrictions).

       44.      Ubiquiti-device customers, including the Defendants named herein, also agree

that the FULA automatically terminates if a user performs any unauthorized copying or

otherwise fails to comply with the FULA. By entering into the FULA, Ubiquiti-device

customers, including the Defendants named herein, also agree that “[u]pon termination of this

license for any reason [the User] will destroy all copies of the Ubiquiti Firmware.” (Ex. B, page

3, Termination).

       45.      Ubiquiti also allows Ubiquiti-device customers to download Ubiquiti firmware

updates for use on Ubiquiti M-series devices from Ubiquiti’s website, but only if they agree to be

bound by the terms of an End User License Agreement (“EULA”). A true and correct copy of

the EULA is attached as Exhibit C.

       46.      By entering into the EULA, Ubiquiti-device customers, including the Defendants

named herein, agree, among other things, that the EULA only applies to Ubiquiti’s Proprietary

Firmware and expressly excludes any Open Source Software. See Ex. C at II.c.

       47.      Ubiquiti-device customers, including the Defendants named herein, also agree

that they are prohibited under the EULA from:

       •     “copy[ing]      reproduc[ing],    broadcast[ing],   transmit[ting],  republish[ing],
             distribut[ing], modify[ing], prepar[ing] derivative work of, perform[ing], publicly
             perform[ing] or display[ing] the Software or any Content in any way without the prior
             written consent of Ubiquiti;” See Ex. C at II.b.3;

       •     “reverse engineer[ing], decompil[ing], translat[ing], disassembl[ing] or otherwise
             attempt[ing] to (i) derive the source code or the underlying ideas, algorithms,
             structure or organization of any Software (except that the foregoing limitation does
             not apply to the extent that such activities may not be prohibited under applicable
             law) or defeat, avoid, bypass, remove, deactivate, or otherwise circumvent any
             software protection mechanisms in the Software, including, without limitation, any



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             such mechanism used to restrict or control the functionality of the Software;” See Ex.
             C at II.b.5;

       •     “us[ing] the Software in violation of any third-party rights or any local, state, national
             or international law or regulation, including, without limitation, any local country
             regulations related to operation within legal frequency channels, output power and
             Dynamic Frequency Selection (DFS) requirements;” See Ex. C at II.b.6; and

       •     “creat[ing] a substantially similar software to the Software, or any component
             thereof.” See Ex. C at II.b.10.

       48.      Like the FULA, the EULA automatically terminates if a user “fails to comply

with any term of this EULA.” See Ex. C at IV. Ubiquiti-device customers, including the

Defendants named herein, also agree that, “[u]pon any such termination, the licenses granted by

this EULA will immediately terminate and [the user] agree to stop all access and use of the

Product, Software and documentation and destroy the Software and documentation, together

with all copies and merged portions in any form.” See Ex. C at IV.

       49.      Ubiquiti’s FULA and EULA are referred to collectively as Ubiquiti’s “Firmware

License Agreements.” The Firmware License Agreements are binding and enforceable contracts

on all customers of Ubiquiti’s products, including the Defendants named herein.

       E.       Defendants Breached Ubiquiti’s Firmware License Agreements And
                Infringed Ubiquiti’s Copyrights In Developing “Elevate”.

       50.      Ubiquiti is one of Cambium’s main competitors in the market for wireless devices

and related firmware. See Cambium’s May 29, 2019 Form S-1 filing with the Securities and

Exchange Commission (“S-1 Filing”, at pages 15 and 95) and June 13, 2019 Amended Form S-1

Filing (“Amended S-1 Filing”, at pages 15 and 96). Moreover, as Cambium has acknowledged,

“[o]nce a network operator has deployed infrastructure for a particular portion of its network, it

is often difficult and costly to switch to another vendor’s equipment.” (S-1 Filing at page 19;

Amended S-1 Filing at page 19). This difficulty arises, in part, because each vendor’s wireless



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networking equipment is only compatible with equipment running that particular vendor’s

firmware.

       51.    Unable to successfully compete with Ubiquiti in a lawful and legitimate matter,

Cambium, the other Defendants named herein, sought to overcome the reluctance of operators to

switch to an entirely new system of wireless network equipment and render existing Ubiquiti M-

series devices incompatible with other Ubiquiti M-series devices by creating and offering for

license Cambium’s Elevate firmware as a replacement for Ubiquiti’s Firmware.            Once

Cambium’s Elevate firmware is installed on a Ubiquiti device, that device can be accessed by

Cambium’s wireless network equipment, but will no longer work with any other Ubiquiti devices

running Ubiquiti’s Firmware.

       52.    In attempting to achieve their objective, Defendants acquired one or more

Ubiquiti M-series devices and at least one version of Ubiquiti’s airOS Firmware, for the

unauthorized purpose of developing, marketing and licensing a replacement for Ubiquiti’s

Firmware that Cambium licensed under the “ePMP Elevate” or “Elevate” names. In so doing,

Defendants agreed to be bound by the terms of Ubiquiti’s Firmware License Agreements.

Among other things, Cambium’s display of its collection of M-Series Devices in the 2016

Webinar and recommendations for using particular versions of the Firmware to facilitate

installation of Elevate in its Quick Start Guide demonstrate that Cambium has voluntarily

entered into Ubiquiti’s Firmware License Agreements by obtaining and using one or more

Ubiquiti M-Series Device(s) and downloading one or more versions of the Firmware. Despite

being agreed to be bound by the terms of the Firmware License Agreements, Defendants

thereafter engaged in a series of wrongful acts as set forth herein that infringed Ubiquiti’s




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copyrights, breached Ubiquiti’s Firmware License Agreements and violated federal statutory and

state common law.

       53.     Defendants Cambium, Sakid Ahmed and Dmitry Moiseev breached Ubiquiti’s

Firmware License Agreements by, among other things: (1) copying and using Ubiquiti’s

Proprietary Firmware to develop and test Elevate; (2) reverse engineering Ubiquiti’s Proprietary

Firmware to defeat, avoid, bypass or otherwise circumvent the Ubiquiti’s Firmware anti-

circumvention measures; (3) reverse engineering Ubiquiti’s Proprietary Firmware to derive the

underlying ideas, algorithms, structure, and organization of the Proprietary Firmware; and (4)

using the Proprietary Firmware to create substantially similar software.

       54.     While developing and testing Elevate, Defendants Cambium, Sakid Ahmed and

Dmitry Moiseev copied, or caused to be copied, object code versions of Ubiquiti’s Proprietary

Firmware (including the Registered Firmware) without authorization, thereby infringing

Ubiquiti’s copyrights in the Registered Firmware.       As a result, because these Defendants’

License Agreements with Ubiquiti were automatically terminated, these Defendants’ continuing

use and operation of Ubiquiti’s Registered Firmware after this time constitute additional

instances of copyright infringement.

       F.      Defendants Violated Ubiquiti’s Firmware License Agreements, Copyrights,
               and Other Applicable Laws When They Installed And Used Elevate To
               Operate Ubiquiti’s M-Series Devices.

       55.     The installation and use of Elevate by Cambium and its customers violates

Ubiquiti’s Firmware License Agreements, infringes on Ubiquiti’s copyrights, and violates other

applicable law.

       56.     When Cambium and its customers install Elevate on Ubiquiti M-series devices,

they breach Ubiquiti’s Firmware License Agreements by: (1) removing the Ubiquiti user



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interface from the device; (2) copying, using and modifying Ubiquiti’s Proprietary Firmware;

and (3) transferring or granting rights in portions of Ubiquiti’s Proprietary Firmware (the

configuration and calibration files) without obtaining Ubiquiti’s prior written consent.

       57.     Because installing Elevate on Ubiquiti’s M-series devices violates Ubiquiti’s

Firmware License Agreements, using Ubiquiti’s Proprietary Firmware to install Elevate also

infringes Ubiquiti’s copyrights in the Registered Firmware.

       58.     When Cambium and its customers install Elevate on Ubiquiti’s M-series devices,

they also circumvent Ubiquiti’s access control measures meant to protect Ubiquiti’s Proprietary

Firmware, including mechanisms used to verify that the firmware to be installed is permissible

for use on M-series devices.         Cambium intentionally formats Elevate to be accepted by

Ubiquiti’s firmware update process in a manner that breaches Ubiquiti’s Firmware License

Agreements.

       59.     After Elevate is installed on a Ubiquiti M-series device, the Proprietary

Firmware’s configuration and calibration files remain on the device and are used by Elevate to

operate the equipment. Such use of Elevate breaches the Firmware License Agreements because

it amounts to an unauthorized copying, use and modification of the configuration and calibration

files of the Proprietary Firmware.

       60.     In addition, once Elevate is installed on Ubiquiti’s M-series devices, the devices

no longer operate in conformity with FCC rules and regulations governing such radio equipment.

       61.     Ubiquiti marks its M-series devices with a unique identifying code known as a

Media Access Control ID (“MAC ID”). The product packaging and labels also contain a unique

FCC Identification number approved by the FCC, for example, SWX-M2, which can be used to

find information about the manufacturer and the product, including approved frequency ranges,



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via the FCC website. The packaging and the labels also have the European Union “CE” mark,

certifying compliance with European Union safety, health and environmental protection

requirements.

       62.      Cambium’s and its customers’ use of Elevate in Ubiquiti’s M-series devices also

violates the Firmware License Agreements because it results in the use of the Proprietary

Firmware’s configuration and calibration files in a manner that violates applicable FCC

regulations. Specifically, Elevate alters the radio functionality of Ubiquiti’s M-series devices

causing them to transmit signals with characteristics that are not allowed by the applicable FCC

equipment authorization, FCC rules and regulations, or the Ubiquiti Firmware originally

installed on the devices.

       G.       Defendants Unlawfully Market, License And Distribute Elevate.

       63.      After having wrongfully developed Elevate, Defendants proceeded to market,

license and distribute Elevate in a manner that breaches the Firmware License Agreements and

violates applicable law in multiple respects.

       64.      Beginning on or about November 30, 2016, Defendants Cambium, Dmitri

Moiseev, Sakid Ahmed and Blip began the widespread marketing, unauthorized use and

licensing of Elevate, including through a webinar, Cambium’s website and other avenues. Since

that time, Cambium has continued to heavily promote Elevate in the United States and

throughout the world via additional webinars directed at WISPs, marketing literature and web

pages provided by third-party distributors. Cambium has also marketed Elevate at industry

conferences attended by WISPs and through live educational seminars directed at distributors

and WISPs, and has performed installation demonstrations of Elevate on Ubiquiti M-series

devices at these events.



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               1. Defendants Infringe Ubiquiti’s Copyrights And Breach Ubiquiti’s
                  Firmware License Agreements By Marketing, Licensing And Distributing
                  Elevate.

       65.     By promoting Elevate and demonstrating how to install it on Ubiquiti’s M-series

devices, Cambium, Cambium’s employees, including Defendants Dmitry Moiseev and Sakid

Ahmed, and Defendant Blip violated Ubiquiti’s copyrights and breached Ubiquiti’s Firmware

License Agreements. These Defendants further violated Ubiquiti’s copyrights in the Registered

Firmware by copying object code versions of the Registered Firmware and publicly displaying

and performing portions of the Registered Firmware, including the Ubiquiti user interface on M-

series devices, without authorization.

       66.     By marketing Elevate and demonstrating how to install it on Ubiquiti’s M-series

devices, Cambium induces Ubiquiti’s licensees and Ubiquiti-device customers to violate

Ubiquiti’s Firmware License Agreements and to commit copyright infringement. For example,

Cambium instructs Ubiquiti’s licensees and customers how to install Elevate through both an

ePMP Elevate Quick Start Guide and an online video. A true and correct copy attached of the

ePMP Elevate Quick Start Guide is as Exhibit D.

       67.     Both the ePMP Elevate Quick Start Guide and the online video instruct Ubiquiti’s

customers to download Elevate, open the Ubiquiti user interface on Ubiquiti M-series devices

used for configuration, and to install Elevate on M-series devices in violation of Ubiquiti

Firmware License Agreements. For example, the ePMP Elevate Quick Start Guide instructs:




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See Figure 1 – Elevate firmware update instructions from ePMP Elevate Quick Start Guide v3.2,

at page 5 Ex. D.

       68.     As the Firmware License Agreements with Cambium were automatically

terminated due to Defendants’ breaches of the agreements during the development of Elevate (as

detailed supra at paragraphs 44 and 48 of the Complaint), Defendants’ public display and

performance of the Registered Firmware during their live and recorded demonstrations of

installing Elevate through the airOS infringes Ubiquiti’s Registered Firmware.

       69.     Cambium’s marketing, licensing and distribution of Elevate also induces its

customers to install and use Elevate. A customer’s installation and use of Elevate breaches the

Firmware License Agreements and infringes on Ubiquiti’s copyrights in the same way that

Defendants’ installation and use of Elevate does so (as detailed supra at paragraphs 55-62 of the

Complaint).

               2. Defendants Intentionally Mislead Customers And Consumers In
                  Marketing And Distributing Elevate.

       70.     In marketing, licensing and distributing Elevate, Defendants intentionally made a

number of material misrepresentations and fraudulent omissions, with knowledge of their falsity.

The misrepresentations included stating (i) that installing Elevate on Ubiquiti’s M-series devices

would result in the removal of all Ubiquiti Firmware from the devices, (ii) the violation of

applicable FCC regulations caused by the installation of Elevate could be rectified by requesting

that Ubiquiti provide a new FCC label, and (iii) installing Elevate would not void the hardware


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warranty with Ubiquiti.     Defendants also failed to inform Ubiquiti-device customers that

installing Elevate on Ubiquiti’s M-series devices violates Ubiquiti’s Firmware License

Agreements, FCC requirements and rules, and Ubiquiti’s intellectual property rights, despite

knowing that the failure to do so would be false and misleading.

       71.     For example, on and around November 30, 2016, Cambium released a webinar

announcing the general availability of Elevate. The lead speakers during the webinar were

Defendants Sakid Ahmed and Dmitry Moiseev.

       72.     During the webinar Defendants Ahmed and Moiseev directly targeted Ubiquiti’s

customers by: (i) directing viewers to the Cambium website to download Elevate and providing

instructions on how to navigate the Ubiquiti user interface driven by Ubiquiti’s Firmware in

order to replace the Ubiquiti’s Firmware with Elevate; (ii) claiming that Elevate would “support .

. . XW-based Ubiquiti hardware (2013-current) [,and] XM-based Ubiquiti hardware (2013 and

prior)” totaling 17 supported Ubiquiti models; (iii) touting that Cambium would “continue to

develop ePMP Elevate” in order to provide “[s]upport for more Ubiquiti subscriber modules”;

(iv) holding a live demonstration providing step-by-step instructions to Ubiquiti-device

customers on how to install Elevate (which demonstration involved the unauthorized use and

running of Ubiquiti Proprietary Firmware); (v) answering nearly a dozen live questions from the

audience specifically regarding Ubiquiti, including pertaining to the alteration of Ubiquiti

hardware and the supposed ability to reverse changes made to the Ubiquiti Proprietary Firmware

through installation of Elevate; and (vi) referring customers with warranty questions to the

hardware manufacturers, including Ubiquiti.

       73.     Cambium and its representatives, Defendants Ahmed and Moiseev, made multiple

material misrepresentations during the webinar with the intent to deceive. For example, webinar



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attendees were informed that “[o]nce you’ve uploaded ePMP Elevate … old manufacturers’

firmware is not operating in any form.” This statement is false, as the configuration and

calibration portions of Ubiquiti’s Proprietary Firmware remain and are copied and used after

Elevate is installed.

        74.       Cambium and its representatives, Defendants Ahmed and Moiseev, also made,

with an intent to deceive, multiple materially false statements by omission during the webinar,

including failing to disclose that:

              •   using Elevate violates the terms of Ubiquiti’s Firmware License Agreements;

              •   installing Elevate causes the device to be non-FCC compliant;

              •   using Elevate violates Ubiquti’s Firmware Licensing Agreements and voids the
                  warranty; and

              •   installing Elevate infringes Ubiquiti’s intellectual property rights.

        75.       Cambium also promoted its Quick Start Guide during its November 30, 2016

webinar targeting Ubiquiti-device customers in stating that Cambium “strongly recommends”

viewers read the Quick Start Guide.

        76.       The Quick Start Guide contains numerous material misrepresentations, including:

the section stating “After the upgrade, the ePMP Elevate subscribers retain only their configured

IP Address and Device Name. All other parameters, including configured access points SSIDs,

frequency configuration, VLAN, etc. may be configured over-the-air after upgrade to ePMP

Elevate.” See ePMP Elevate Quick Start Guide v3.2 (Nov. 2016) (Ex. D) at pg. 5. This

statement is literally false and was known by Cambium to be false at the time it was made.

Multiple Ubiquiti parameters are copied, maintained, and used by Elevate (as detailed supra at

paragraph 59 of the Complaint).




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       77.    Cambium also made misleading and/or false representations in its Quick Start

Guide regarding the impact of Elevate on FCC Standards:

              FCC Standards:

              Caution! The user must ensure that deployed ePMP products
              operate in accordance to local regulatory limits. ePMP and ePMP
              Elevate-compatible devices may not share regulatory certifications
              in all regions.

              Some 3rd-party radio devices were originally FCC-certified and
              labeled to operate in the 5.8 GHz frequency range only. An ePMP
              Elevate upgrade enables 3rd-party radios to operate within the U-
              NII-1 through U-NII-4 frequency band range 5150 – 5980 MHz.
              To ensure FCC regulatory compliance for ePMP Elevate-upgraded
              radio devices:

              1. A new label must be applied to the device with the updated
              FCC ID clearly visible. 3rd-party radio manufacturers support FCC
              label requests online (labels are shipped directly).

              2. FCC-allowed transmit power in the 5.8 GHz band has been
              reduced with the latest regulatory guidelines. ePMP Elevate
              adheres to these FCC power limits, and an upgrade to ePMP
              Elevate software may introduce a reduction of the device’s
              operating transmit power to adhere to regulatory limits (as a
              result of the ePMP access point’s transmit power control
              mechanism).

See ePMP Elevate Quick Start Guide v3.2 (Nov. 2016) at pg. 2 (Ex. D, emphasis added). These

statements regarding compliance with FCC standards are false and/or misleading. For example,

the statement that “a reduction of the device’s operating transmit power” may “adhere to

regulatory limits” is false and/or misleading. These statements falsely imply customers can

comply with FCC standards using Elevate on Ubiquiti’s M-series devices.

       78.    While marketing Elevate to Ubiquiti’s customers for use with Ubiquiti M-series

devices, Defendants made additional false and misleading statements about the nature of Elevate

and its impact after installation on Ubiquiti’s M-series devices and Ubiquiti’s Proprietary

Firmware that Cambium knew to be false and misleading, including the following:

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             •   Falsely stating that after installing Elevate the original firmware is no longer
                 present or operating in any form;

             •   Falsely stating that after installing Elevate the original device manufacturer
                 hardware warranty still applies; and

             •   Falsely stating that after installing Elevate the user can ensure FCC compliance by
                 having a third party manufacturer, who is not the source of Elevate, generate and
                 apply a new FCC label to the device.

                 3. Cambium Wrongfully Instructs Ubiquiti’s Customers                    How     To
                    Circumvent Ubiquiti’s Access Control Mechanisms.

       79.       Cambium’s marketing, licensing and distribution of Elevate also involved

instructing Ubiquiti’s customers how to circumvent Ubiquiti’s access control measures so that

potions of Ubiquiti’s Proprietary Firmware could be used without authorization.

       80.       Cambium’s website contains a “Community” forum where members of the

public—including potential and current Ubiquiti customers—post questions and comments.

During its November 30, 2016 webinar, Cambium encouraged listeners to use the Cambium

Community forum, noting that its employees were “active” users of the Community forum.

Cambium personnel, posting under a Cambium account displaying the Cambium logo,

frequently post on the Community.Cambiumnetworks.com website on various message boards.

       81.       On the Cambium Community forum, Cambium instructs Ubiquiti’s customers of

Elevate how to circumvent Ubiquiti’s access control measures on Ubiquiti’s signed versions of

the Proprietary Firmware in order to install Elevate and access the configuration and calibration

information on the M-series devices without authorization.

       G.        Defendants’ RICO Enterprise And Racketeering Activity

       82.       Cambium sits at the helm of the “Enterprise”—an association-in-fact—consisting

of Cambium, Cambium Networks, Sakid Ahmed, Dmitry Moiseev, and distributor Winncom. At




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all relevant times, the Enterprise constituted an association-in-fact enterprise within the meaning

of 18 U.S.C. §§ 1961(4) and 1962(c).

       83.     At all relevant times, the Enterprise was engaged in interstate and international

commerce and involved in activities affecting interstate and international commerce.

       84.     Although functioning as independent legal entities, Cambium, Cambium

Networks and Winncom joined together with individual Defendants Moiseev and Ahmed for the

common purpose of ensuring financial gain for themselves through misleading Ubiquiti

customers.

       85.     The purpose of the Enterprise was to carry out a scheme to obtain money by

persuading Ubiquiti customers to leave for Cambium based on material misrepresentations and

omission, and sell Cambium equipment by competing unfairly against Ubiquiti, in violation of

applicable law.

       86.     Cambium led this Enterprise, with Winncom and Defendants Moiseev and

Ahmed assisting in attracting customers.

       87.     Cambium Networks helped fund the Enterprise by providing monetary support to

Cambium and having Cambium carry out all distribution to Winncom in the United States.

       88.     Defendants Ahmed and Moiseev marketed Elevate to the public through

promotional and instructional videos containing multiple material misrepresentations and

omissions and, on information and belief, assisted in the development of Elevate.

       89.     The members of the Enterprise came together with the specific purpose of

ensuring financial gain via misleading and inducing consumers to purchase and install Elevate

among other illicit business and profit gaining purposes.        On information and belief, the

members of the Enterprise exchanged numerous emails, phone calls and communications to



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strategize regarding the development and launch of Elevate and the best ways to attract Ubiquiti

customers and ensure commercial success of Elevate.

       90.     Each member of the Enterprise was recruited by Cambium, and Cambium

provided each member of the Enterprise financial incentives and/or direct financial benefit for

participation in the Enterprise.

       91.     The Enterprise carried out its goal of ensuring financial gain by engaging in

various acts of willful criminal copyright infringement and mail and wire fraud to induce

customers to partially remove Ubiquiti Proprietary Firmware by installing Elevate, copying

portions of the Ubiquiti firmware, and circumventing signed versions of Ubiquiti firmware

without authorization to ensure that Ubiquiti M-series devices would no longer be compatible

with a Ubiquiti network using Ubiquiti protocols and instead be used only with newly purchased

Cambium networking equipment.

       92.     The Enterprise trafficked in and made material misrepresentations and omissions

regarding Elevate specifically to defraud and induce Ubiquiti’s customers into breaching the

Firmware License Agreements and to make changes to the Ubiquiti M-series device.

       93.     The scheme of the Enterprise has been going on since prior to the launch of

Elevate on November 30, 2016, at which point in time Cambium, with the knowledge and

encouragement of its parent corporation Cambium Networks and through its Vice President of

Engineering Sakid Ahmed, and employee Dmitry Moiseev, in conjunction Winncom, began

wrongfully promoting the Elevate and offering it for sale to consumers. Prior to this date,

Cambium, with the knowledge and encouragement of its parent corporation Cambium Networks

and through its Vice President of Engineering Sakid Ahmed, and employee Dmitry Moiseev

developed Elevate in violation of applicable law.



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       94.     The Enterprise carried out its goal of obtaining financial gain at the expense of

customers and Ubiquiti through a pattern of racketeering activity.

       95.     First, the Enterprise members conspired together to fraudulently enter into the

Ubiquiti Firmware License Agreements with the intention to breach the agreements and commit

willful criminal copyright infringement in the development and testing of Elevate.

       96.     The scheme began with Cambium, working with the funding and encouragement

of its parent Cambium Networks to develop Elevate.

       97.     The Enterprise further concocted a scheme to mislead and induce customers to

purchase and install Elevate.

       98.     Cambium, working with the funding and encouragement of its parent Cambium

Networks, entered into partnerships with Blip and Winncom to traffic in and promote Elevate.

       99.     On information and belief, in exchange for offering positive statements regarding

the use of Elevate, Blip and Winncom were able to take advantage of Cambium’s special

discount offered to customers that “spread the word” regarding Elevate.

       100.    The Enterprise accomplished its promotion of Elevate and inducement of third-

party purchases and installation in multiple ways.

       101.    Blip and the Enterprise conspired together to issue various public comments

regarding purported benefits that Blip gained from installation of Elevate.

       102.    On November 29, 2016, Cambium posted on its website a “Resource” which

touted that Blip’s use of Elevate “dramatically improved performance.”

       103.    Cambium also quoted from Blip’s co-owner, Ian Ellison, in product release

announcements that touted the benefits of Elevate.




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       104.    Cambium’s citation to the benefits Blip purportedly incurred in using Elevate was

done in order to specifically target customers of Ubiquiti. And, on information and belief, the

members of the Enterprise were all aware of Cambium’s intent to advertise the purported

benefits to Blip from using Elevate.

       105.    Winncom posted on its website numerous advertisements touting the supposed

benefits of Elevate, including seven separate “EPMP Case Studies” describing Elevate.

       106.    Winncom also held seminars for Cambium in an effort to aid and abet others of

the Enterprise. On information and belief, these seminars included the same or similar material

misrepresentations and omissions as detailed supra at paragraphs 70-78 of the Complaint.

       107.    One such seminar, which included a product demonstration of Elevate, was held

on October 7, 2017 at a WISPApalooza event. Sakid Ahmed and Dmitry Moiseev attended the

WISPApalooza event on behalf of Cambium in an effort to work with Winncom to spread false

and misleading information regarding Elevate and to lure away Ubiquiti customers.

       108.    Winncom also served as a “Connected Partner” for Cambium, receiving various

benefits to “reward” Winncom for furthering the Enterprise’s scheme.

       109.    Winncom’s advertisement of the case studies discussing Elevate was done in

order to specifically target Ubiquiti customers and induce purchases and use of Elevate.

       110.    The Enterprise’s misleading advertisements and tutorials were provided to

consumers to mislead them and induce them to install Elevate on Ubiquiti M-series devices,

notwithstanding that doing so would violate FCC rules and the Ubiquiti Firmware License

Agreements in order for Cambium to sell Cambium equipment with which the newly installed

Elevate firmware is compatible.




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       111.    Ubiquiti has been directly and proximately harmed by the Enterprises’ willful

copyright infringement, false advertisements and statements because customers are misled and

induced to violate Ubiquiti’s Firmware License Agreements, Ubiquiti’s intellectual property

rights and FCC rules by installing Elevate.

       112.    Although the full extent of willful criminal copyright infringement and wire and

mail fraud carried out by the Enterprise in furtherance of their scheme to mislead consumers and

sell Elevate remains to be determined, the following are examples of fraudulent statements

members of the Enterprise made using the U.S. Mail and/or interstate wires:

           •   The Cambium website’s advertisement of a “Resource Guide,” discusses
               purported benefits Blip gained from installation of Elevate without disclosing the
               true nature of Elevate.

           •   Cambium’s running of “field experience” webinars discussed Blip’s experience
               using Elevate without disclosing the true nature of Elevate.

           •   Cambium’s launching and showing of various promotional videos on its website,
               which discuss purported “benefits” of Elevate and instruct Cambium Customers
               to install Elevate on their Ubiquiti M-series devices through the Ubiquiti M-series
               web interface without disclosing the true nature of Elevate.

           •   Cambium’s issuance of a press release on November 30, 2016, which tout
               Elevate’s benefit and Blip’s experience without disclosing the true nature of
               Elevate.

           •   Cambium’s November 30, 2016 webinar designed to target Ubiquiti customers
               and provide a step-by-step procedure for installing Elevate on the Ubiquiti M-
               series devices, contained numerous material misrepresentations and omissions
               detailed supra at paragraphs 71-78 of the Complaint.

           •   Winncom’s hosting of an ePMP course on October 7th-9th, 2017 at
               WSIPApalooza 2017—an event attended by Defendants Ahmed and Moiseev—
               wherein Winncom in connection with Cambium hosted a session regarding
               “hardware installation”, which upon information and belief involved Winncom
               providing a how-to tutorial to WISPs who ultimately sold Elevate to customers
               without disclosing the true nature of Elevate.




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               Winncom’s advertising campaign regarding it ePMP course at WISPApalooza in
               advance of the event in October 2017, which failed to disclose the true nature of
               Elevate.

           •   Winncom’s staging of a promotion via its website in the Russian language
               whereby licenses to Elevate were provided free of charge to potential customers
               to induce installation of Elevate on Ubiquiti M-series devices. Specifically, on a
               Winncom affiliate website, Winncom advertised that: “Cambium Networks is
               launching a campaign to help owners of wireless networks built on Ubiquiti
               equipment upgrade their network by replacing old equipment with the base station
               of the ePMP1000 series or ePMP 2000. When purchasing new ePMP equipment,
               you get an Elevate license as a gift!!!"

           •   Cambium’s issuance of promotional videos and a Quick Start Guide, which
               instruct Cambium Customers to install Elevate on their Ubiquiti M-series devices
               through the Ubiquiti M-series web interface, which failed to disclose the true
               nature of Elevate. Upon information and belief, the promotional videos and
               Quick Start Guide were released via the Cambium website on or about November
               30, 2016.

           •   Defendants Ahmed and Moiseev made numerous posts on Cambium’s message
               boards disseminating false and misleading information regarding Elevate and
               providing encouragement to customers installing Elevate.

           •   With the knowledge and encouragement of Winncom, and Cambium Networks,
               Cambium hosted a video webinar featuring Defendants Ahmed and Moiseev in
               late 2016 wherein Cambium made false statements regarding Elevate. These
               materially false statements and omissions are supra at paragraphs 71-78 of the
               Complaint.

           •   Cambium’s publication of a Quick Start Guide, which contained materially false
               statements and omissions detailed supra at paragraphs 75-77 of the Complaint.

       113.    Each of these statements was made through the wires and/or the US mails with

the intent to defraud and induce consumers to install Elevate.

       114.    On information and belief, Cambium also used the U.S. Mail to send promotional

advertisements which encouraged customers to use Elevate on the Ubiquiti devices.

       115.    On information and belief, Cambium used the U.S. Mail to send invoices for

Elevate to customers throughout the United States, including in this district.




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       116.     On information and belief, in furtherance of the Enterprise, the Enterprise

members communicated with each other via e-mail communications and over the phone.

       117.     On information and belief, income in furtherance of the Enterprise’s scheme was

received via wires when customers paid on-line to purchase Elevate.

       118.     The advertisements, promotions, and web videos on the Cambium site were

broadcast to and viewed by consumers throughout the United States.

       119.     The advertisements on the Winncom website were viewed and transmitted via

wires to consumers throughout the United States.

                                 FIRST CLAIM FOR RELIEF
                                      (Breach of Contract)
                                  (Asserted Against Cambium)

       120.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       121.     Defendant Cambium entered into valid, enforceable Firmware License

Agreements with Ubiquiti and agreed to abide by their terms and conditions.

       122.     The Firmware License Agreements include restrictions on use that apply to

portions of the Firmware that are not subject to open source licenses, such as the GNU General

Purpose License (GPL). The restrictions specifically apply to the Proprietary Firmware portions

of the Firmware detailed supra at paragraph 39 of the Complaint, which include (i) the

Registered Firmware; (ii) proprietary compilations of data in the calibration and configuration

files; and (iii) computer programs (source and object code) and related comments and

compilations of data authored by Ubiquiti and its suppliers, including: (a) AirMAx radio protocol

and wireless drivers specific to Atheros (atheros-11n and related packages); and (b) the




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bootloader       for   AirOS   (ar7240-u-boot.rom;     ubntxn-u-boot.rom;   ubntxn-400-u-boot.rom;

ubntwasp-u-boot.rom; ubnttitanium-u-boot.rom).

       123.       Defendant Cambium breached the Firmware License Agreements as detailed

supra at paragraphs 50-69 of the Complaint, resulting in damage to Ubiquiti.

       124.       Cambium has breached the FULA by:

             •    removing the Ubiquiti user interface from the Ubiquiti devices;

             •    unauthorized copying and use of the Proprietary Firmware during the
                  development, testing, installation, and demonstration of Elevate;

             •    unauthorized copying, use and modification of portions of the Proprietary
                  Firmware, including the configuration and calibration files, during use of Elevate;

             •    reverse engineering the Proprietary Firmware to defeat, avoid, bypass or
                  otherwise circumvent the Firmware protection mechanisms; and

             •    transferring or granting rights in portions of the Proprietary Firmware (including
                  the configuration and calibration files) without the prior written consent of
                  Ubiquiti.

       125.       Cambium has breached the EULA by:

             •    copying and reproducing the Proprietary Firmware during the development,
                  testing and installation of Elevate without the prior written consent of Ubiquiti;

             •    copying, reproducing, publicly performing and publicly displaying the Proprietary
                  Firmware during the demonstration of Elevate without the prior written consent of
                  Ubiquiti;

             •    reverse engineering the Proprietary Firmware to derive the underlying ideas,
                  algorithms, structure or organization of the Proprietary Firmware;

             •    reverse engineering the Proprietary Firmware to defeat, avoid, bypass or
                  otherwise circumvent the Firmware protection mechanisms;

             •    using portions of the Proprietary Firmware (including the configuration and
                  calibration files) to violate FCC regulations; and

             •    using the Proprietary Firmware during testing and development of Elevate to
                  create a substantially similar software.


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       126.     Ubiquiti has performed all of its obligations under the Firmware License

Agreements.

       127.     As a result of the breaches identified herein, the Ubiquiti Firmware License

Agreements were automatically terminated and Cambium was required to delete any copies of

Ubiquiti Proprietary Firmware for the M-series devices. Cambium, however, continued to use

the Ubiquiti Proprietary Firmware on M-series devices in violation of the terms of the Firmware

License Agreements.

       128.     Cambium’s breaches of the Firmware License Agreements are material and have

proximately and directly caused damage to Ubiquiti.

       129.     Continued copying and use of the Proprietary Firmware after knowing violations

of the Firmware License Agreements constitutes commercially motivated, gross and willful

misconduct, and have caused additional damages and violations of Ubiquiti’s proprietary rights

and damages as set forth in the related counts of this Complaint.

                                SECOND CLAIM FOR RELIEF
                (Willful violation of the Copyright Act, 17 U.S.C. §§ 101, et seq.)
                                   (Asserted Against Cambium)

       130.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       131.     Ubiquiti is and has been at all relevant times the owner of all copyrights and

interests in its Registered Firmware.

       132.     In 2010, Ubiquiti completed airOS version 5.2.1 and, effective April 3, 2012,

Ubiquiti registered its copyright for its authorship within this version of the Firmware under U.S.

Registration No. TXu 1-795-146.




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       133.    In 2011, Ubiquiti completed authorship of airOS version 5.3 and, effective April

3, 2012, Ubiquiti registered its copyright for its authorship within this version of the Firmware

under U.S. Registration No. TXu 1-795-147.

       134.    In 2016, Ubiquiti completed authorship of airOS version 6.0 and, effective

December 18, 2018, Ubiquiti registered its copyright for its authorship within this version of the

Firmware under U.S. Registration No. TX 8-654-155.

       135.    Ubiquiti owns the copyright in the Registered Firmware as a work made for hire,

pursuant to 17 U.S.C. § 101 (defining “work made for hire”).

       136.    The source code covered by the Registered Firmware does not include open

source software licensed to Ubiquiti pursuant to the terms of the GNU General Public License

(GPL), other open source license, or other “licensed-in” materials.

       137.     The Registered Firmware includes, but is not limited to, computer programs

(source and object code), and related comments and compilations of data associated with the

following: (i) AirMAX® radio protocol and wireless drivers (ubnthal and ubnt-regd); (ii) web

user interface (ubnt-web and ubnt-cgi) (iii) polling (ubnt-poll); (iv) spectral analysis module

(ubnt-spectral and ubnt-spectral-2); (v) configuration (ubnt-regd, ubntbox, and ubntconf_cl.sh);

(vi) various utilities (ubntbox and ubnt-3g) related to, among other things, configuration,

calibration, discovery tools, and boot code; (vii) base files (bunt-base-files) related to, among

other things, support utilities and scripts and configuration parameters; (viii) power over Ethernet

(ubnt-poe-control); and (ix) modifications to the bootloader for AirOS provided by Atheros

(ar7240-u-boot.rom;     ubntxn-u-boot.rom;      ubntxn-400-u-boot.rom;       ubntwasp-u-boot.rom;

ubnttitanium-u-boot.rom).




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       138.     As the owner of the copyrights, Ubiquiti maintains exclusive rights to, inter alia,

reproduce and create derivatives of, and to publicly distribute, publicly display, and publicly

perform the Registered Firmware, including the Infringed Firmware, in whole or in part (as

expressed in existing and future versions of the Ubiquiti Firmware or other computer programs

that Ubiquiti authors), for any purpose as well as to authorize such uses by any and all third

parties. See 17 U.S.C. § 106.

       139.     Any person or entity that violates any of Ubiquiti’s exclusive copyright rights in

the Registered Firmware infringes the copyright. See 17 U.S.C. § 501.

       140.     The Firmware License Agreements authorize limited use of Ubiquiti’s Registered

Firmware, on the conditions specified in such agreements as detailed supra at paragraphs 43 and

47 of the Complaint. The conditions prohibit, inter alia, reverse engineering, unauthorized

downloading, copying and modifying Proprietary Firmware, removal or modification of the

Ubiquiti user interface, and removal of other aspects of the Proprietary Firmware.

       141.     The Firmware License Agreements are clear that failure to comply with the

Firmware License Agreements’ restrictions will result in automatic termination of Agreement,

and any use of the Proprietary Firmware after termination is unlawful and constitutes copyright

infringement.

       A.       Cambium’s Direct Infringement of Ubiquiti's Copyrights in the Registered
                Firmware

       142.     Using a copyrighted work in violation of conditions of a license or otherwise in

excess of rights granted under a license in a manner that implicates one or more exclusive

copyright rights constitutes infringement of the copyright.

       143.     Cambium, under the Firmware License Agreements, was not permitted to, inter

alia, remove the user interface associated with the Proprietary Firmware, reverse engineer the


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Proprietary Firmware, copy or modify portions of the Proprietary Firmware or remove or

reproduce, distribute, display, perform, or prepare derivatives of the Registered Firmware for any

purposes other than those expressly stated in the Firmware License Agreements. Cambium, and

those acting on its behalf, including Cambium’s employees, Dmitry Moiseev and Sakid Ahmed

violated, inter alia, each of these conditions and restrictions and as a result breached the Ubiquiti

Firmware License Agreements and thereafter immediately lost the limited license to the

Proprietary Firmware and obligated to destroy all copies of the Ubiquiti Proprietary Firmware.

       144.     Cambium, however, did not destroy all copies of the Ubiquiti Proprietary

Firmware.

       145.     Rather, after breaching one or more of the Ubiquiti Firmware License

Agreements, Cambium knowingly and willfully directly infringed Ubiquiti’s exclusive copyright

rights in the Registered Copyrights, by engaging in the following actions, among others as

specified supra at paragraphs 50-69 of the Complaint:

            •   Development of Elevate based on downloading copies of the Ubiquiti Firmware
                that necessarily include the Registered Firmware from Ubiquiti’s website,
                copying the Registered Firmware onto an Ubiquiti M-series device, and/or
                copying portions of the Registered Firmware into memory on a M-series device
                by running it on a M-series device during development and testing of Elevate;

            •   Demonstrating how to install Elevate based on the making of unauthorized
                reproductions of the Registered Firmware, including by downloading copies of
                the Ubiquiti Firmware that necessarily include the Registered Firmware from
                Ubiquiti’s website, copying the Registered Firmware onto an Ubiquiti M-series
                device, and/or copying portions of the Registered Firmware into memory on a M-
                series device by running it on a M-series device, for example, before or during
                demonstrations; and

            •   Publicly displaying and publicly performing the user interface within the
                Registered Firmware when demonstrating how to install Elevate on M-Series
                Devices in the 2016 Webinar posted online and in other similar live and recorded
                programs.




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       146.    All of these actions were unlawful, explicitly prohibited by the Firmware License

Agreements, and were taken by Cambium and its employees and agents for commercial gain to

sell licenses to Elevate and related Cambium products at Ubiquiti’s expense.

       147.    Cambium’s conduct was taken willfully and/or with reckless disregard for and/or

willful blindness to Ubiquiti’s copyright rights protected by the Registered Firmware because: (i)

Cambium agreed to the conditions in the Firmware License Agreements; (ii) such agreements

expressly identified Ubiquiti’s copyright interest in the portions of the Firmware it authored

(which are at least in part protected by the Registered Firmware); and (iii) Cambium still

engaged in conduct expressly prohibited by such agreements.

       148.    Cambium has therefore infringed upon and profited from, and, unless enjoined by

this Court, will in the future infringe upon and profit from Ubiquiti’s Registered Firmware.

       149.    As a result of Cambium’s wrongful conduct, Ubiquiti has suffered damages and,

unless permanently enjoined, will continue to suffer damages based on wrongful conduct.

       150.    Cambium’s wrongful conduct, unless enjoined by the Court, will cause

irreparable harm to Ubiquiti, which has no adequate remedy at law.

       151.    In these circumstances, the Copyright Act entitles Ubiquiti to an injunction

restraining Cambium, its officers, agents and employees, and all persons acting in concert with it

from engaging in any present or future acts in violation of the copyright laws.

       152.    The infringing conduct described above has damaged and continues to damage

Ubiquiti in an amount to be determined at trial, accounting for 17 U.S.C. § 501. Ubiquiti is

entitled to recover, under the Copyright Act, actual damages Ubiquiti has sustained and any

additional gains, profits and advantages obtained by Cambium as a result of its infringement.




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       153.    On information and belief, because Ubiquiti obtained U.S. Registration No. TXu

1-795-146 and U.S. Registration No. TXu 1-795-147 before Cambium commenced their

infringement of the Infringed Firmware, the Copyright Act also entitles Ubiquiti to statutory

damages in lieu of actual damages, up to $150,000.00 per work for willful infringement, plus

attorneys’ fees and costs to the extent Cambium are shown to have infringed the authorship

protected under those copyright registrations. See 17 U.S.C. §§ 412, 504.

               B. Secondary Infringement (Contributory & Inducement)

       154.    In addition to Cambium’s direct infringement of Ubiquiti’s copyrighted

authorship in the Registered Firmware, Cambium has contributed to and induced third parties

(distributors and customers) to infringe Ubiquiti’s copyrights in the Registered Firmware.

       155.    As detailed supra at paragraphs 55-69 of the Complaint, Cambium intentionally

misleads and induces distributors and Ubiquiti customers to run, and in certain cases download

and run, copies the Firmware on M-Series Devices without authorization for the sole purpose of

facilitating the installation of Elevate. By downloading, installing and using Firmware to bypass

security restrictions on M-Series Devices to install and use Elevate, the customers violate the

Firmware License Agreements and thus infringe Ubiquiti’s copyright in the Registered

Firmware.

       156.    Cambium’s customers directly infringe the Registered Firmware when they

download and run the versions of Firmware recommended in Cambium’s Quick Start Guide for

the sole purpose of installing Elevate, because to do so, the customer must agree to the EULA

but immediately violate the conditions of that agreement.

       157.    Cambium has knowledge that distributors’ and customers’ uses of the Firmware

violate the conditions of the Firmware License Agreements because Cambium received and



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accepted the Firmware License Agreements when it acquired one or more M-Series Devices and

downloaded one or more versions of the Firmware to create Elevate and to determine which

version to recommend as “officially tested” in its Quick Start Guide.

       158.     With this knowledge, Cambium provides and “strongly recommends” that

customers view its tutorials, demonstrations, live classes, and links to circumvention tools to

encourage, facilitate and induce Ubiquiti customers to make unauthorized copies of the

Firmware by downloading versions of it for the sole purpose of installing Elevate.

       159.     Cambium’s instructions and express encouragement to download particular

versions of the Firmware to facilitate and ultimately install and run Elevate on M-Series Devices

materially contribute to direct infringement of the Firmware by Cambium customers and is in

furtherance of an ongoing relationship with Cambium to purchase and use its Elevate software

and related hardware.

       160.     As a result of Cambium’s wrongful conduct, Ubiquiti has suffered damages and,

unless permanently enjoined, will continue to suffer damages based on this conduct.

       161.     Cambium’s wrongful conduct, unless enjoined by the Court, will cause

irreparable harm to Ubiquiti, which has no adequate remedy at law.

       162.     In these circumstances, the Copyright Act entitles Ubiquiti to an injunction

restraining Cambium, its officers, agents and employees, and all persons acting in concert with

them from engaging in any present or future acts in violation of the copyright laws.

       163.     The infringing conduct described above has damaged and continue to damage

Ubiquiti in an amount to be determined at trial, accounting for actual damages Ubiquiti has

sustained and any additional gains, profits and advantages obtained by Cambium as a result of its

infringement.



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                                   THIRD CLAIM FOR RELIEF
                (Violations of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                    (Asserted Against Cambium)

       164.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       165.     On the basis of the misconduct detailed herein, Cambium has violated the

following sections of the CFAA: CFAA § 1030(a)(2)(C); CFAA § 1030(a)(6)(A); and CFAA §

1030(b).

                        A.     CFAA § 1030(a)(2)(C) Violations

       166.     Section 1030(a)(2)(C) of the CFAA prohibits a person from intentionally

accessing a protected computer without or in excess of authorization and obtaining information

from a protected computer.

       167.     Ubiquiti’s M-series devices are protected computers within the meaning of the

CFAA because the M-series devices are used in and affect interstate commerce.

       168.     Cambium has itself, and has aided and abetted others, to intentionally install

Elevate on Ubiquiti M-series devices in violation of multiple provisions of the Ubiquiti

Firmware License Agreements.

       169.     Installing Elevate makes unauthorized access to among other things, Ubiquiti M-

series devices and Ubiquiti’s Proprietary Firmware, including the configuration and calibration

portions of the Ubiquiti Proprietary Firmware on the Ubiquiti M-series devices (the protected

computers) in order to take control of the Ubiquiti M-series devices for Cambium’s commercial

purposes.

       170.     By virtue of this conduct, Cambium has violated and has conspired with others to

violate the Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(2)(C), by intentionally

accessing Ubiquiti M-series devices, which consist of protected computers used for interstate

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commerce or communications, without authorization or by exceeding authorized access to the

Ubiquiti M-series devices, and by accessing configuration and calibration portions of the

Ubiquiti Proprietary Firmware in order to take control of the Ubiquiti M-series devices for

Cambium’s commercial purposes.

       171.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti

Proprietary Firmware, which underlies its Firmware License Agreements with customers of

Ubiquiti M-series devices, impaired and altered and no longer compatible with other Ubiquiti

devices using Ubiquiti’s wireless protocols, while Cambium’s Elevate makes unauthorized

access to portions of Ubiquiti’s Proprietary Firmware remaining on the device enabling the

devices to operate with other Cambium devices.

       172.    Elevate has been provided by Cambium and third parties authorized by Cambium

to well in excess of ten (10) Ubiquiti M-series devices, which are protected computers.

       173.    Ubiquiti has spent in excess of $100,000 investigating the nature of Elevate and

the damage it causes to Ubiquiti and the integrity of the Ubiquiti Proprietary Firmware on

Ubiquiti M-series devices resulting from Cambium’s wrongful conduct.

       174.    Ubiquiti is entitled to damages for Cambium’s violation of Section 1030(a)(2)(C)

of the CFAA in an amount to be determined at trial.

       175.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened

injuries, entitling Ubiquiti to remedies, including injunctive relief, as provided by 18 U.S.C. §

1030(g).

                      B.      CFAA § 1030(a)(6)(A) Violations

       176.    Section 1030(a)(6)(A) of the CFAA prohibits a person from knowingly and with

intent to defraud trafficking in any password or similar information through which a protected

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computer may be accessed without authorization, if such trafficking affects interstate or foreign

commerce.

       177.    Cambium traffics in—sells and transports to customers and third-party sellers—

Elevate and additional programs, videos and guides instructing third parties how to bypass and

gain unauthorized access to Ubiquiti M-series devices and Ubiquiti Proprietary Firmware.

       178.    Through Elevate and additional materials, consumers learn how and are able to

bypass and gain unauthorized access to Ubiquiti’s M-series Devices and the Ubiquiti Proprietary

Firmware that is combined with Elevate.

       179.    Elevate and alteration of the M-series Devices caused by installation of Elevate

using unauthorized access to the Ubiquiti Proprietary Firmware, facilitates further unauthorized

access, and affects interstate commerce, as Elevate is being distributed by Cambium and used

throughout the United States and the world.

       180.    By the above described conduct, Cambium has violated the Computer Fraud and

Abuse Act, 18 U.S.C. § 1030(a)(6)(A), by knowingly and with intent to defraud trafficking in

information by distributing Elevate and additional programs, videos and guides instructing third

parties how to bypass and gain unauthorized access to Ubiquiti M-series devices using Ubiquiti

Proprietary Firmware and the Firmware, which trafficking and access has affected and continues

to affect interstate commerce and communications and foreign commerce.

       181.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti

Proprietary Firmware, which underlies its Firmware License Agreements with customers,

impaired and altered and no longer compatible with other Ubiquiti devices using Ubiquiti’s

wireless protocols.




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       182.    Elevate has been provided by Cambium and third parties authorized by Cambium

to well in excess of ten (10) Ubiquiti M-series devices, which are protected computers.

       183.    Ubiquiti has spent in excess of $100,000 investigating the nature of Elevate and

the damage it causes to Ubiquiti Proprietary Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct.

       184.    Ubiquiti is entitled to damages for Cambium’s violation of Section 1030(a)(6)(A)

of the CFAA in an amount to be determined at trial.

       185.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened

injuries, entitling Ubiquiti to remedies, including injunctive relief, or other equitable relief, as

provided by 18 U.S.C. § 1030(g).

               C.      CFAA § 1030(b) Violations

       186.    Section 1030(b) of the CFAA prohibits a person from conspiring to violate any

other subsection of the CFAA.

       187.    Cambium has violated the CFAA by conspiring to commit the 18 U.S.C. §

1030(a) offenses listed above.

       188.    Cambium has conspired with Ubiquiti licensees of Ubiquiti M-series devices and

Ubiquiti Proprietary Firmware to intentionally make unauthorized access by installing Elevate

based on unauthorized access to Ubiquiti Proprietary Firmware on Ubiquiti M-series devices.

Such licensees include third parties, including Defendant Blip, and other third parties acting on

behalf of Cambium, including Defendant Winncom, who traffic in Elevate, related software,

guides and videos for Ubiquiti M-series devices and directly or indirectly facilitate unauthorized

access to the Ubiquiti M-series devices and installation of Elevate on Ubiquiti M-series devices.



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       189.    Ubiquiti has sustained damage and loss by, inter alia, having the Ubiquiti

Proprietary Firmware which underlies its Firmware License Agreements with customers

impaired, preserved and altered and no longer compatible with other Ubiquiti devices using

Ubiquiti’s wireless protocols.

       190.    Cambium’s Elevate has been provided by Cambium and third parties authorized

by Cambium to well in excess of ten (10) Ubiquiti M-series devices, which are protected

computers.

       191.    Ubiquiti has spent in excess of $100,000 investigating the nature of Elevate and

the damage it causes to Ubiquiti Proprietary Firmware on Ubiquiti M-series devices resulting

from Cambium’s wrongful conduct.

       192.    Ubiquiti is entitled to damages for Cambium’s violation of Section 1030(b) of the

CFAA in an amount to be determined at trial.

       193.    Unless restrained and enjoined, Cambium will continue to commit such acts.

Ubiquiti’s remedy at law is not adequate to compensate it for these inflicted and threatened

injuries, entitling Ubiquiti to remedies, including injunctive relief, and other equitable relief, as

provided by 18 U.S.C. § 1030(g).

               D.      Allegations Applicable to All CFAA Violations Asserted Herein

       194.    Cambium and those distributors, customers and other agents that Cambium has

misled and induced to commit willful breaches and violations of the Firmware License

Agreements described herein each exceeded the limited, authorized access that Ubiquiti provides

to use the Proprietary Firmware on M-Series devices. Cambium’s and/or its agents’ intentional

and willful acts to make unauthorized access during installation of Elevate and to continue to

make unauthorized access to M-Series devices and the altered and remaining Proprietary



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Firmware on M-series devices were all without authorization and in violation of the Computer

Fraud and Abuse Act.

       195.     The actions of Cambium were and continue to be knowing, deliberate, willful and

in utter disregard of Ubiquiti’s rights under the CFAA.

       196.     Ubiquiti has standing to bring the Computer Fraud and Abuse Act claims set forth

above, and is entitled to remedies at law and equity pursuant to 18 U.S.C. § 1030(g) because

Cambium’s conduct has caused a loss to Ubiquiti during any one (1) year period aggregating far

more than $5,000 in value as specified in 18 U.S.C. § 1030(c)(4)(A)(i)(I).

       197.     Ubiquiti has suffered loss and has spent in excess of $100,000 investigating

Elevate in response to learning of Cambium’s promotion and distribution of Elevate to Ubiquiti

M-series device customers in order to determine the nature of Elevate and determine its response

to Cambium’s unauthorized access and trafficking.

                              FOURTH CLAIM FOR RELIEF
                          (Violations of §§ 1201(a)(1), 1201(a)(2) and
                        1202(b) of the Digital Millennium Copyright Act)
                                  (Asserted against Cambium)

       198.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       199.     On the basis of the misconduct detailed herein, Cambium has violated the

following sections of the DMCA: DMCA § 1201(a)(1); and DMCA § 1201(a)(2).

                               A. DMCA § 1201(a)(1) Violations

       200.     Section 1201(a)(1) of the DMCA provides that no person shall circumvent a

technological measure that effectively controls access to a work protected under this title.

       201.     Ubiquiti’s Proprietary Firmware, including the Registered Firmware, for its M-

series products is subject to protection under the copyright laws of the United States.


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           202.   Access to Ubiquiti’s Proprietary Firmware is subject to the Firmware License

Agreements and is controlled by technological measures, namely signature protected firmware in

the case of Ubiquiti Firmware versions 5.6.15 and later and software for detecting unauthorized

firmware for Ubiquiti Firmware versions 5.6.14 and lower.

           203.   Cambium, individually and acting in concert and with third parties, has violated

Ubiquiti’s rights under 17 U.S.C. § 1201(a)(1) by directly circumventing access control

measures that effectively control the ability to update or alter the firmware on Ubiquiti M-series

devices by using Elevate, which passes through Ubiquiti’s access control measures for detecting

unauthorized firmware, and allows Elevate to install on Ubiquiti M-series devices and thereafter

make unauthorized access and use of portions of the Proprietary Firmware to take control of

Ubiquiti M-series devices.        Elevate, after installation, disables Ubiquiti’s access control

measures.

           204.   The conduct described above has cost Ubiquiti an amount to be determined at trial

and constitutes a violation of 17 U.S.C. § 1201.

           205.   The conduct described above was willful and undertaken with knowledge of

wrongdoing, and was undertaken with commercial motives to sell licenses to Elevate and

Cambium hardware to interface with hacked Ubiquiti M-series devices. An award of statutory

damages is necessary to dissuade Cambium and others from the use of Elevate.

           206.   Accordingly, pursuant to 17 U.S.C. § 1203, Ubiquiti is entitled to and hereby

demands statutory damages in the maximum amount of $2,500 for each of the violations of the

statute.

           207.   Cambium’s conduct, unless enjoined by the Court, will cause irreparable harm to

Ubiquiti, which has no adequate remedy at law.



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       208.    Ubiquiti is also entitled to an award of attorneys’ fees and costs as provided under

17 U.S.C. § 1203.

                                B. DMCA § 1201(a)(2) Violations

       209.    Section 1201(a)(2) of the DMCA provides that no person shall traffic in any

technology, product, service, device, component, or part thereof, that, among other things, is

primarily designed or produced for the purpose of circumventing a technological measure that

effectively controls access to a work protected under this title.

       210.    Ubiquiti’s Proprietary Firmware, including the Registered Firmware, for its M-

series products is subject to protection under the copyright laws of the United States.

       211.    Access to Ubiquiti’s Firmware is subject to the Firmware License Agreements

and is controlled by technological measures, namely signature protected firmware in the case of

Ubiquiti Firmware versions 5.6.15 and later and software for detecting unauthorized firmware

for Ubiquiti Firmware versions 5.6.14 and lower.

       212.    Cambium, individually and collectively, have directly or acting in concert with a

third party violated Ubiquiti’s rights under 17 U.S.C. § 1201(a)(2) by offering Elevate and

certain related services to the public to circumvent Ubiquiti’s technological measures.

       213.    Such services include in-person educational seminars demonstrating installation

of Elevate to circumvent Ubiquiti’s technological measures, disseminating quick start guides and

on-line videos demonstrating how to circumvent technological measures on Ubiquiti M-series

devices and install Elevate, and disseminating instructions on how to defeat Ubiquiti’s signature

protected firmware on Ubiquiti Firmware versions 5.6.15 and later on Cambium’s community

website.

       214.    Cambium traffics in such services and Elevate, which are used to disable

Ubiquiti’s technological measures and make Ubiquiti M-series devices and Ubiquiti Proprietary

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Firmware that remains on the Ubiquiti M-series devices after Elevate has been installed available

for unauthorized access, copying and use thereafter.

       215.     The conduct described above has damaged Ubiquiti in an amount to be

determined at trial and constitutes a violation of 17 U.S.C. § 1201.

       216.     The conduct described above was willful and undertaken with knowledge of

wrongdoing, and was undertaken with commercial motives to sell licenses to Elevate and

Cambium hardware to interface with Ubiquiti M-series devices. An award of statutory damages

is necessary to dissuade Cambium and others from the use of Elevate.

       217.     Accordingly, pursuant to 17 U.S.C. § 1203, Ubiquiti is entitled to and hereby

demands statutory damages in the maximum amount of $2,500 for each violation of the DMCA.

       218.     Cambium’ conduct, unless enjoined by the Court, will cause irreparable harm to

Ubiquiti, which has no adequate remedy at law.

       219.     Ubiquiti is also entitled to an award of attorneys’ fees and costs as provided under

17 U.S.C. § 1203.

                                FIFTH CLAIM FOR RELIEF
         (False Advertising under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B))
                                  (Asserted Against Cambium)

       220.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       221.     As detailed supra at paragraphs 70-78 of the Complaint, Cambium has

disseminated through its promotion of and promotional materials for Elevate, false and

misleading statements concerning Ubiquiti, the nature and propriety of Elevate and the impact of

installing Elevate on Ubiquiti M-series devices, all in violation of Section 43(a) of the Lanham

Act.



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       222.    Cambium’s statements constitute false and deceptive advertising because they are

material, false and/or are likely to mislead, and/or have misled, consumers and distributors about

the nature, characteristics and quality of Elevate as set forth in this Complaint.

       223.    Cambium’s false and misleading statements and material omissions are intended

to conceal Cambium’s copyright infringement, lead to the sale or other provision of licenses to

Elevate and Cambium products to Ubiquiti-device customers, and attack the reputation, goodwill

and market position of Ubiquiti.

       224.    Cambium’s false and misleading statements and material omissions have been

and are made in connection with the sale of products in interstate commerce.

       225.    Cambium’s false and misleading statements and material omissions: (i)

intentionally seek to capitalize on the goodwill and brand recognition that Ubiquiti developed

through the investment of resources in the market directly targeted by Cambium; and (ii)

deliberately aim to deceive and induce customers into installing Elevate on their existing

installed base of M-Series Devices for the purpose of selling more Cambium access points and

hardware and migrating Ubiquiti customers to Cambium hardware.

       226.    Cambium has willfully, knowingly, and intentionally made and continues to make

false and misleading descriptions in advertising, and unless enjoined by this Court, will continue

to deceive, mislead and confuse consumers and distributors into believing that, among other

things, Cambium’s creation and dissemination of Elevate for Ubiquiti M-series devices is lawful,

supported by warranty coverage from Ubiquiti and yields Ubiquiti M-series devices that are FCC

complaint.

       227.    Cambium’s false and deceptive advertising is intentionally and specifically

targeted at Ubiquiti M-series devices as part of a deceptive sales strategy to migrate Ubiquiti



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customers away from Ubiquiti products to Cambium products with which the Ubiquiti M-series

devices are then compatible.

       228.     As a direct and proximate cause of Cambium’s unlawful acts and practices

detailed herein, Cambium has caused, is causing, and unless enjoined by this Court, will continue

to cause immediate and irreparable harm to Ubiquiti, for which there is no adequate remedy at

law, and for which Ubiquiti is entitled to injunctive relief. Cambium’s acts, as described herein,

are, and unless enjoined, will continue to be, in violation of Section 43(a) of the Lanham Act.

       229.     As a direct and proximate cause of Cambium’s unlawful acts and practices,

including those set forth above, Cambium has caused, is causing, and unless enjoined by this

Court, will continue to cause Ubiquiti to suffer damages to its business, reputation, and goodwill,

and the loss of sales and profits Ubiquiti would have made but for Cambium’s wrongful acts.

       230.     Cambium has acted in bad faith and has willfully engaged in false advertising

with the intent to injure Ubiquiti and deceive the public. Thus, in addition to the injunctive relief

and damages requested herein, Ubiquiti is entitled to costs and attorneys’ fees pursuant to 25

U.S.C. § 1117(a).

                                 SIXTH CLAIM FOR RELIEF
                               (Tortious Interference With Contract)
                                   (Asserted Against Cambium)

       231.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       232.     As detailed supra at paragraphs 40-41, 49 and 52 of the Complaint, the Firmware

License Agreements are binding and enforceable contracts between Ubiquiti and Cambium,

Cambium had actual knowledge of the Firmware License Agreements and voluntarily entered




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into them by virtue of Cambium’s obtaining and using Ubiquiti M-series devices and Proprietary

Licensed Firmware as described above.

       233.    Cambium’s false and misleading advertisement and promotion of Elevate as

detailed supra at paragraphs 70-78 of the Complaint, has been and continues to be used to induce

Ubiquiti’s customers to install Elevate on Ubiquiti M-series devices constitute intentional acts

taken with knowledge that customers would be induced into violating the terms of their

Firmware License Agreements with Ubiquiti.

       234.    Cambium configured Elevate to make changes to the Ubiquiti Proprietary

Firmware knowing that these changes would breach the express terms of Ubiquiti’s Firmware

License Agreements with customers.

       235.    Cambium’s distribution of Elevate, and its false and misleading promotion of

Elevate targeting Ubiquiti customers, has directly and proximately caused Defendant Blip and

other third party customers of Ubiquiti to violate their Firmware License Agreements with

Ubiquiti for M-series devices.

       236.    Cambium’s interference with the Firmware License Agreements between Ubiquiti

and its customers has harmed Ubiquiti by having induced and continuing to induce its customers

to violate the terms of their Firmware License Agreements with Ubiquiti and causing damage to

M-series devices rendering them no longer compatible with Ubiquiti protocols used to

communicate with other Ubiquiti devices, causing, inter alia, lost sales, infringement and

reputational harm.




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                               SEVENTH CLAIM FOR RELIEF
                                    (Unfair Competition)
                                 (Asserted Against Cambium)

       237.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       238.     Cambium and Ubiquiti are competitors in wireless devices and in the

dissemination of firmware for wireless devices.

       239.     As detailed supra at paragraphs 21-27 of the Complaint, Ubiquiti has invested

considerable money and time into developing the Ubiquiti Firmware.

       240.     Rather than independently developing its own product, Cambium gained access

to Ubiquiti’s Proprietary Firmware for M-series devices by entering into the Ubiquiti Firmware

License Agreements, and then proceeded to violate the terms of those agreements in multiple

ways as detailed supra at paragraphs 50-69 and 124-125 of the, all in order to save time, money

and effort in developing Elevate.

       241.     Following this wrongful development, Cambium has improperly marketed

Elevate as a legitimate, competing product of the Ubiquiti Proprietary Firmware, i.e., a product

that can substitute for use of Ubiquiti’s Firmware, on M-Series Devices. Contrary to Cambium’s

claims, however, Elevate is not authorized for use with Ubiquiti M-series devices and violates

and causes others to violate the Ubiquiti Firmware License Agreements when used on an

Ubiquiti M-series device in any manner, including as directed by Cambium in its promotional

materials.

       242.     Cambium’s unauthorized reverse engineering and subsequent unauthorized

copying, modification, promotion, distribution and uses of the Ubiquiti Proprietary Firmware,

including Registered Firmware, to cause third parties to use Ubiquiti’s own Proprietary



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Firmware in installing Elevate are designed to allow Cambium to unfairly reap the benefits of

and free ride on Ubiquiti’s substantial investment of time and money in Ubiquiti’s Proprietary

Firmware and goodwill associated with its M-series devices.

       243.    By falsely and misleadingly inducing customers to install Elevate on an Ubiquiti

M-series device, Cambium creates a device that is not in compliance with FCC rules and

regulations, causes the customer to breach its Firmware License Agreements with Ubiquiti and

other violations of applicable law.

       244.    Cambium, through its videos, promotional materials and message board postings

has been targeting Ubiquiti customers since November 30, 2016 and has unfairly competed with

Ubiquiti by propagating false and misleading statements regarding Elevate, and by so doing

maliciously interferes with Ubiquiti’s customer relationships in an effort to mislead and induce

those customers to breach their Firmware License Agreements and become customers of

Cambium.

       245.    Cambium’s reverse engineering and use of Ubiquiti’s Proprietary Firmware in

violation of the Ubiquiti Firmware License Agreements in connection with the launch and

distribution of Elevate for Ubiquiti M-series devices constitutes unfair competition and has

damaged Ubiquiti and will continue to dilute and harm the reputation for quality, legality and

reliability of Ubiquiti’s M-series devices in a manner beyond Ubiquiti’s control unless

Cambium’s actions are permanently enjoined.

       246.    Cambium’s alteration of the Ubiquiti firmware damages and otherwise dilutes the

quality of the Ubiquiti Firmware and harms Ubiquiti and its customers who purchased Ubiquiti

M-series devices.




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       247.     Cambium’s unfairly competitive behavior has proximately and directly caused

damage to Ubiquiti as described above in an amount to be determined at trial.

                                  EIGTH CLAIM FOR RELIEF
                 (Intentional Interference with Prospective Economic Advantage)
                                    (Asserted Against Cambium)

       248.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       249.     Ubiquiti has valid and binding contracts between itself and its customers, who

voluntarily entered into Firmware License Agreements by obtaining and using the M-Series

Devices and by downloading the Ubiquiti Proprietary Firmware.

       250.     Ubiquiti had a reasonable opportunity to obtain business advantage from

customers and prospective customers who would purchase and make use of Ubiquiti’s M-series

devices, Proprietary Firmware for M-series devices, and related wirelessly compatible Ubiquiti

products.

       251.     Cambium was aware of Ubiquiti’s Firmware License Agreements and

relationships with current M-series device customers and expectations of obtaining business

from its existing and other customers.

       252.     Indeed, Cambium specifically advertised and promoted Elevate using targeted,

false, deceptive and misleading descriptions to Ubiquiti customers and prospective customers for

M-series devices.

       253.     Cambium intentionally and unjustifiably interfered with Ubiquiti’s relationships

with current and prospective customers through its promotion and distribution of Elevate and

instructions to install Elevate on Ubiquiti M-series devices causing customers to breach their

respective Firmware License Agreements with Ubiquiti.



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       254.     Cambium unjustifiably misled and induced customers of Ubiquiti to install

Elevate in violation of Ubiquiti Firmware License Agreements, altering the Ubiquiti firmware on

Ubiquiti M-series devices so that customers of Ubiquiti could no longer use the hacked M-series

devices to communicate with other Ubiquiti devices using Ubiquiti wireless protocols, but

instead could communicate with Cambium products.

       255.     Cambium induced customers to terminate and not enter into certain business

relationships with Ubiquiti for the sale of Ubiquiti devices to communicate with the installed

base of Ubiquiti M-series running Elevate. As a result, Cambium has unjustly profited from

causing Ubiquiti customers to breach its Firmware License Agreements and violate other rights

of Ubiquiti in is Proprietary Firmware.

       256.     Cambium’s interference has proximately and directly caused damage to Ubiquiti

as described above in an amount to be determined at trial.

                                NINTH CLAIM FOR RELIEF
                                (Common Law Misappropriation)
                                  (Asserted Against Cambium)

       257.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       258.     Ubiquiti invested considerable time and money into developing its Proprietary

Firmware, Ubiquiti M-series devices, and its brand recognition.

       259.     Cambium misappropriated Ubiquiti’s Proprietary Firmware and related goodwill

and reputation associated with that firmware by promoting and distributing Elevate targeting

Ubiquiti’s Firmware, and that still incorporates portions of Ubiquiti’s Proprietary Firmware after

installation of Elevate, deceiving customers regarding the true nature of Elevate, and inducing

such customers to violate Ubiquiti Firmware License Agreements at little or no cost to Cambium



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and at the expense of Ubiquiti’s goodwill and reputation developed through Ubiquiti’s effort,

time, and money to create, market, and sell its M-Series Devices and Firmware.

         260.   Under Illinois common law, Cambium is misappropriating Ubiquiti’s goodwill

and brand reputation, which was earned through significant expenditure of time, labor, skill and

money.

         261.   As a direct and proximate result of Cambium’s misappropriation Ubiquiti has

suffered and will continue to suffer, damages in an amount to be determined at trial, and other

commercial damages in the marketplace.

         262.   Cambium’s conduct as set forth above is knowing, deliberate and willful.

         263.   Cambium has earned and will continue to earn profits from its unlawful actions

unless permanently enjoined.

                               TENTH CLAIM FOR RELIEF
  (Violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c))
                                  (Asserted Against Cambium)

         264.   Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

         265.   Defendants Cambium, Cambium Networks, Winncom, Dmitry Moiseev and

Sakid Ahmed comprise the Enterprise.         The Enterprise is an association-in-fact enterprise

engaged in activities that affect interstate commerce. The aforementioned Defendants joined

together and acted in concert, relying on each other for specific roles, in order to ensure

consumer deception and financial gains beyond those they could have obtained through “run-of-

the-mill” commercial activities.

         266.   Cambium oversees the Enterprise running its day-to-day operations, with

Winncom serving Cambium’s needs within the Enterprise.



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        267.    Winncom reports to Cambium regarding its distribution and sales.

        268.    Cambium, in turn, keeps Cambium Networks apprised of the Enterprises’

activities, profits and distributions thereof.

        269.    Cambium agreed to and did conduct and participate in the conduct of the

Enterprise’s affairs through a pattern of racketeering activity for the unlawful purpose of

intentionally defrauding consumers into installing Elevate, which in turn ensured financial gains

for the Enterprise members above and beyond those which the members would have received

had then been engaging solely in lawful activities.

        270.    To the extent known at this time and to be further developed through discovery of

information exclusively within the possession, custody, control and knowledge of the Enterprise

members, that pattern includes related predicate acts of mail fraud and wire fraud (in violation of

18 U.S.C. §§ 1341, 1343) and willful criminal copyright infringement (in violation of 17 U.S.C.

§ 506) detailed supra at paragraphs 88-119 of the Complaint.

        271.    Cambium was involved in each of these racketeering acts, specifically

orchestrating and arranging for the racketeering acts to occur through the Enterprise.

        272.    The acts set forth above, which happened over a period of years, constitute a

pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

        273.    Because the Enterprise directly targeted Ubiquiti customers, Ubiquiti has lost

customers as a result of the Enterprises’ activities.

        274.    Given false and misleading statements and material omissions made by the

members of the Enterprise through the wires and mail, Ubiquiti has lost consumer good will in

the market place and its brand reputation has been harmed.




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       275.     As a direct and proximate result of the Enterprise’s illegal racketeering activities

and violations of 18 U.S.C. § 1962(c), Ubiquiti has been injured in its business and property in

that Ubiquiti has lost consumer good will in the market place and its brand reputation has been

harmed, Ubiquiti has lost customers and customers were induced to breach the terms of the

Ubiquiti’s Firmware Licensing Agreements, Ubiquiti’s M-series devices and licensed firmware

have been damaged by eliminating their compatibility with other Ubiquiti networking devices

using Ubiquiti protocols, and Ubiquiti’s rights in its Proprietary Firmware have been violated, in

each case through installation of Elevate and the ongoing and unauthorized access to Ubiquiti’s

Proprietary Firmware that remains on Ubiquiti M-series devices after installation of Elevate. As

a direct and proximate result of the RICO violations described herein, Ubiquiti has lost sales and

prospective sales to consumers in an amount to be determined at trial.

       276.     Thus, Ubiquiti prays that the Court grant Ubiquiti legal relief to remedy the RICO

violations described herein, including entry of an order requiring Defendant Cambium to pay (a)

damages for the RICO violations described herein, including those damages which have resulted

in the concrete financial losses outlined in this Complaint, and (b) treble damages.

                            ELEVENTH CLAIM FOR RELIEF
  (Violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(d))
  (Asserted Against Cambium Networks, Blip, Winncom, Sakid Ahmed, and Dmitry Moiseev)

       277.     Ubiquiti incorporates by reference each of the foregoing paragraphs as if set forth

fully herein.

       278.     In commission of the racketeering acts set forth herein, each member of the

Enterprise and co-conspirator Blip conspired to violate the RICO statute in violation of 18

U.S.C. § 1962(d).




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       279.     Specifically, the Enterprise members and co-conspirator Blip worked together to

ensure financial gain at the expense of Ubiquiti’s copyrights and customer base.

       280.     The members of the Enterprise worked together to exceed the permissible and

ordinary scope of a developer-manufacturer-distributor relationships and co-conspirator Blip

likewise worked with Cambium to exceed the ordinary scope of a manufacturer-distributor

relationship.

       281.     The members of the Enterprise conspired together to develop Elevate or promote

false advertisement to customers through webinars and in person demonstrations involved

Elevate.

       282.     Each of the members of the Enterprise, as well as co-conspirator Blip, were aware

of the fraudulent nature and scope of the Enterprise and agreed to assist the Enterprise in

carrying out its fraudulent acts.

       283.     Each of the members of the Enterprise, as well as co-conspirator Blip, agreed to

the commission of, or participated in, at least two of the racketeering acts described herein.

       284.     Indeed, each of the members of the Enterprise, as well as co-conspirator Blip, was

aware of the Enterprise and received direct personal financial gain from the activities of the

Enterprise.

       285.     Each of the members of the Enterprise, as well as co-conspirator Blip, intended to

and in fact did further the purposes of the Enterprise.

       286.     Each of the members of the Enterprise, as well as co-conspirator Blip, engaged in

the RICO conspiracy in order to further their own personal interests and ensure financial health

for themselves individually.




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       287.    Each of the members of the Enterprise, as well as co-conspirator Blip, wanted to

harm Ubiquiti’s goodwill and customer standing in the market place.

       288.    Each of the members of the Enterprise was aware of Cambium’s control and

worked together to further that control. Blip likewise aided Cambium in its control of the

Enterprise and profit seeking motive.

       289.    Cambium took the control of the Enterprise.

       290.    Cambium Networks placed Cambium at the helm and allowed Cambium to run

the U.S. sales and operations of Elevate.

       291.    Dmitry Moiseev and Sakid Ahmed assisted in the development of Elevate,

advertised Elevate, monitored web boards pertaining to Elevate, and answered individual

questions from Ubiquiti customers regarding Elevate.

       292.    Blip and Winncom conspired with Cambium to ensure Cambium’s position of

control in the Enterprise and supported Cambium’s efforts to market Elevate.

       293.    Cambium Networks provided financial support to Cambium to ensure its position

as the leader of the Enterprise and also authorized discounts and personal financial gains for Blip

and Winncom.

       294.    The members of the Enterprise knew that their actions were part of a pattern of

racketeering activity and agreed to commit their actions in furtherance of the scheme described

herein. This conduct constitutes a conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18

U.S.C. § 1962(d).

       295.    Blip likewise worked with Cambium to ensure Cambium’s role as the lead of the

Enterprise, and knew that Cambium was carrying out a pattern of racketeering activity along

with various other members of the Enterprise and agreed to have Cambium commit its



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racketeering activities along with co-conspirators in furtherance of the scheme described herein.

This conduct constitutes a conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. §

1962(d).

       296.    Each of the members of the Enterprise and co-conspirator Blip were aware that

Cambium was directly targeting Ubiquiti customers and making misleading claims implying that

the Firmware was appropriately used with Ubiquiti products.

       297.    The Enterprise is an enterprise engaged in and whose activities affect interstate

commerce.

       298.    As a direct and proximate result of the Enterprise’s conspiracy, conspiracy with

Blip, and RICO violations flowing therefrom, Ubiquiti has been injured in its business and

property in that Ubiquiti has lost consumer good will in the market place and its brand reputation

has been harmed, Ubiquiti has lost customers and customers were induced to breach the terms of

the Ubiquiti’s Firmware Licensing Agreements, Ubiquiti’s M-series devices and licensed

firmware have been damaged by eliminating their compatibility with other Ubiquiti networking

devices using Ubiquiti protocols, and Ubiquiti’s rights in its Proprietary Firmware have been

violated, in each case through installation of Elevate and the ongoing and unauthorized access to

Ubiquiti’s Proprietary Firmware that remains on Ubiquiti M-series devices after installation of

Elevate. As a direct and proximate result of the RICO violations described herein, Ubiquiti has

further lost sales and prospective sales to consumers in an amount to be determined at trial.

       299.    Thus, Ubiquiti prays that the Court grant Ubiquiti legal relief to remedy the RICO

violations described herein, carried out with the knowing assistance of co-conspirator Blip,

including entry of an order requiring Defendants Cambium, Cambium Networks, Blip,

Winncom, Sakid Ahmed, and Dmitry Moiseev to pay (a) damages for the RICO violations



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described herein, including those damages which have resulted in the concrete financial losses

outlined in this Complaint, and (b) treble damages.

                                     RELIEF REQUESTED

        WHEREFORE, Ubiquiti Networks, Inc. requests judgment against Defendants and seeks

relief, as follows:

        A.      That judgment be entered for Ubiquiti and against Defendants on all Counts;

        B.      That this Court find that Cambium breached its respective contracts with Ubiquiti

by violating the Ubiquiti Firmware License Agreements associated with the Ubiquiti Proprietary

Firmware and Ubiquiti M-series devices;

        C.      That Cambium, its officers, directors, agents, employees, affiliates, subsidiaries

and all other persons acting in concert with them, be temporarily, preliminarily and permanently

enjoined from directly or indirectly infringing Ubiquiti’s copyrights in its Registered Firmware

by creating, copying, distributing, publicly displaying or publicly performing any Registered

Firmware, or portions thereof, and from participating or assisting in any such infringing activity.

        D.      That this Court find that Cambium violated the Computer Fraud and Abuse Act;

        E.      That this Court find that Cambium has willfully engaged in false advertising in

the promotion and distribution of Elevate targeting Ubiquiti M-series devices;

        F.      That Cambium be required to account for all gains, profits, and advantages

derived from their acts of false advertising, infringement, and for their other violations of law;

        G.      That Ubiquiti be awarded its actual damages and any profits attributable to

Defendants’ causing damage and loss to Ubiquiti by virtue of its development and distribution of

Elevate targeting Ubiquiti M-series devices to Ubiquiti’s customers, false advertising directed to

Ubiquiti’s customers, tortious interference and unfair competition directed towards Ubiquiti’s

customers and other copyright infringement and violations of state and federal law.

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       I.      That Defendants be required to retrieve and destroy all copies of the Elevate

provided to distributors, customers and other agents and cancel all “licenses” to Elevate.

       J.      That Defendants be required to delete permanently from Defendants’ computers

and information technology systems all electronic copies of Ubiquiti Firmware and Elevate.

       K.      That Defendants be required to delete permanently, from any website that they

own or control, all copies or reproductions of Elevate and related promotional materials;

       L.      The Court award actual, exemplary and treble damages for the RICO violations.

       M.      That Ubiquiti be awarded statutory damages in connection with Defendants’

violation of the DMCA and the Copyright Act.

       N.      That Ubiquiti be awarded reasonable attorneys’ fees and costs incurred in

connection with this action, including, but not limited to, reasonable attorneys’ fees and costs

incurred in connection with Defendants’ violation of the CFAA, the Lanham Act, the Copyright

Act, and RICO.

       O.      That a jury hear Ubiquiti’s claims; and,

       P.      That this Court grant any such other and further relief as it deems just and proper.

Dated: June 18, 2019                         Respectfully submitted,

                                             FOX SWIBEL LEVIN & CARROLL LLP

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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on June 18, 2019, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.



                                                   /s/ Jason J. Keener
                                                   Jason J. Keener




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